Case No. 1:16-cr-00284-PAB      Document 52-1      filed 07/25/17     USDC Colorado     pg
                                       1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 16-cr-00284-CMA

UNITED STATES OF AMERICA,

             Plaintiff,

v.

 1. DONALD ILEY,

           Defendant.
______________________________________________________________________

             AMENDED PRELIMINARY ORDER OF FORFEITURE
                   AGAINST DEFENDANT DONALD ILEY
______________________________________________________________________

      THIS MATTER comes before the Court on the United States’ Motion for an

Amended Preliminary Order of Forfeiture, pursuant to Rule 32.2(e)(1) of the Federal

Rules of Criminal Procedure.

      The Court having read said Motion and being fully advised in the premises finds:

      1.     On August 24, 2016, the Grand Jury charged defendant Donald Iley, in

part, with Count 12 with a violation of 18 U.S.C. § 1343. (Doc. 1).

      2.     The Indictment also sought forfeiture in the form of a personal money

judgment against defendant Donald Iley, pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 28

U.S.C. § 2461(c), in the amount of proceeds obtained by the scheme and by the

defendant;

      3.     On April 18, 2017, the United States and defendant Donald Iley entered

into a Plea Agreement, which provided the factual basis and cause to issue a personal


                                            1
Case No. 1:16-cr-00284-PAB      Document 52-1        filed 07/25/17   USDC Colorado      pg
                                       2 of 3




money judgment under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. 2461(c) and Rule

32.2(b) of the Federal Rules of Criminal Procedure (Doc. 21);

      4.     This Court entered a General Preliminary Order of Forfeiture for a

Personal Money Judgment, pursuant to Fed. R. Crim. P. 32.2(b)(2)(C). The Order

specified that the amount would be amended at the time the money judgment was

determined by the Court (Doc. 40); and

      5.     On July 13, 2017, this Court held an initial sentencing hearing for

defendant Iley where the defendant agreed to restitution in the amount of

$9,718,327.68. The Government sought leave to amend the Preliminary Order of

Forfeiture to include this amount as the proceeds from the offense as set forth in the

Plea Agreement.

             THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED:

      THAT the Preliminary Order of Forfeiture against defendant Donald Iley shall be

amended, pursuant to Fed. R. Crim. P. 32.2(e)(1), and the United States may forfeit up

to $9,718,327.68 in direct or substitute assets from the Defendant.

      THAT this Court shall retain jurisdiction over this matter for the purpose of

amending the Order of Forfeiture to include any subsequently located substitute assets,

tendered herewith, for the reasons set forth above

      THAT the Amended Judgment shall reflect the same.

      SO ORDERED this _________ day of __________________, 2017.


                                  BY THE COURT:



                                            2
Case No. 1:16-cr-00284-PAB   Document 52-1   filed 07/25/17   USDC Colorado   pg
                                    3 of 3




                              _________________________________
                              CHRISTINA M. ARGUELLO
                              United States District Court Judge




                                      3
